Case 1:25-cv-00131-RGA   Document 16-1   Filed 04/04/25   Page 1 of 42 PageID #: 386




                           Exhibit A
Case
Case 1:25-cv-20137-DPG
     1:25-cv-00131-RGA Document
                        Document1 16-1
                                   Entered
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                                            on 04/04/25
                                               FLSD Docket
                                                        Page
                                                           01/09/2025
                                                              2 of 42 PageID
                                                                       Page 1#:of387
                                                                                  26




                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                                      Case No.:

  PAUL DANIELS,

        Plaintiff,
  vs.

  MARTIN CROTTY, HARRISON
  MACRIS, BRADLEY WERNTZ,
  PRINCETON CARBON WORKS
  INC., a Florida corporation, and
  PRINCETON CARBONWORKS,
  INC., a Delaware corporation,

        Defendants.


                       COMPLAINT AND JURY DEMAND

        Plaintiff, Paul Daniels, sues Defendants Martin Crotty, Harrison Macris,

  Bradley Werntz, Princeton Carbon Works Inc., a Florida corporation (“Princeton

  Carbon Works”), and Princeton CarbonWorks, Inc., a Delaware corporation

  (“Princeton CarbonWorks DE”) (collectively, “Defendants”), and alleges as follows.

                              Jurisdiction and Venue

        1.     This is an action for declaratory relief, breach of contract, an

  accounting, breach of fiduciary duty, conspiracy to breach fiduciary duty,

  conversion, conspiracy to commit conversion, and inspection of corporate records.

  Mr. Daniels’ claims arise from an agreement in which he received an 18.5% equity
Case
Case 1:25-cv-20137-DPG
     1:25-cv-00131-RGA Document
                        Document1 16-1
                                   Entered
                                         Filed
                                            on 04/04/25
                                               FLSD Docket
                                                        Page
                                                           01/09/2025
                                                              3 of 42 PageID
                                                                       Page 2#:of388
                                                                                  26




  interest in Princeton Carbon Works. The agreement was made “in recognition of

  Paul’s past services and to induce Paul to continue his association with [Princeton

  Carbon Works]”. The agreement was also based on the determination by Mr. Crotty,

  Mr. Macris and Mr. Werntz , that “it is in the best interest of [Princeton Carbon

  Works] and its shareholders that Paul, without additional consideration, at this time

  receive and be issued an 18.5% equity interest in [Princeton Carbon Works].” After

  Mr. Daniels took the company from struggling start up to the successful launch of a

  highly technical product for a discerning audience, Defendants engaged in a

  concerted effort to convert and deprive Mr. Daniels of his equity interest in Princeton

  Carbon Works and all its assets including its intellectual property and its good will

  by unlawful and tortious conduct and a freeze-out merger.

        2.     This Court has jurisdiction over the subject matter of this action

  pursuant to 28 U.S.C. § 1332 because there is complete diversity between the

  Plaintiff and Defendants and the amount in controversy exceeds $75,000.00,

  exclusive of interest and costs. The amount in controversy is based, in part, on the

  value of Mr. Daniels’ 18.5% interest in Princeton Carbon Works conservatively

  valued at between twenty-five to forty-five million dollars based on a multiple-of-

  revenue valuation methodology appropriate to this company. The actual valuation

  of Princeton Carbon Works may be greater after Mr. Daniels’ receives access to the

  financial records of the company.



                                            2
Case
Case 1:25-cv-20137-DPG
     1:25-cv-00131-RGA Document
                        Document1 16-1
                                   Entered
                                         Filed
                                            on 04/04/25
                                               FLSD Docket
                                                        Page
                                                           01/09/2025
                                                              4 of 42 PageID
                                                                       Page 3#:of389
                                                                                  26




         3.        This Court possesses personal jurisdiction over the Defendants.

  Princeton Carbon Works is incorporated under the laws of Florida. Mr. Crotty, Mr.

  Macris, Mr. Werntz, and Princeton CarbonWorks DE operated, conducted, engaged

  in and carried on a business or business venture in this state, having an office or

  agency in this state; they committed a tortious act within this state and conspired

  with a citizen of this state to commit tortious acts within this state; and breached a

  contract in this state by failing to perform acts required by contract to be performed

  in this state.

         4.        Venue is proper in this judicial district because one of the Defendants

  resides within this judicial district and a substantial part of the events and omissions

  giving rise to the claims occurred within this judicial district.

                                          The Parties

         5.        Mr. Daniels is a citizen and resident of Pennsylvania.

         6.        Mr. Crotty is a citizen and resident of New Jersey.

         7.        Mr. Macris is a citizen and resident of Connecticut.

         8.        Mr. Werntz is a citizen and resident of Rhode Island.

         9.        Princeton Carbon Works is a Florida corporation which currently

  reports an inactive status on the Florida Division of Corporations Sunbiz.org website

  as a result of a merger in 2024 with Princeton CarbonWorks DE, a Delaware

  corporation. Princeton CarbonWorks DE currently lists its principal place of



                                               3
Case
Case 1:25-cv-20137-DPG
     1:25-cv-00131-RGA Document
                        Document1 16-1
                                   Entered
                                         Filed
                                            on 04/04/25
                                               FLSD Docket
                                                        Page
                                                           01/09/2025
                                                              5 of 42 PageID
                                                                       Page 4#:of390
                                                                                  26




  business at the address of Mr. Macris in Connecticut.

                                  General Allegations

                       Princeton Carbon Works and its formation

           10.   Mr. Crotty formed Princeton Carbon Works in March 2015, serving as

  its president. He formed Princeton Carbon Works to develop and market high-

  performance bicycle wheels for both triathlon and time trial bikes used in the cycling

  sport.

           11.   Mr. Crotty was soon joined by co-founders Bradley Werntz and

  Harrison Macris. The three had all been on their collegiate rowing teams – Mr.

  Crotty (class of 1998) and Mr. Werntz (class of 2010) at Princeton University and

  Mr. Macris (class of 2009) at Boston University. Mr. Crotty rowed for the U.S.

  Rowing Team and Mr. Werntz rowed for the U.S. Junior Rowing Team before he

  went to college.

           12.   Mr. Crotty was a member of Princeton’s 1998 championship rowing

  team and currently serves as a rowing coach at Princeton University. Mr. Crotty

  incorporated the Princeton University name, and by implication its reputation, into

  the business name of Princeton Carbon Works. Mr. Crotty often conducted and

  continues to conduct Princeton Carbon Works business from Princeton University’s

  Shea Rowing Center and has regularly held business meetings there as well. Mr.

  Crotty’s use of Princeton University facilities to operate Princeton Carbon Works in



                                            4
Case
Case 1:25-cv-20137-DPG
     1:25-cv-00131-RGA Document
                        Document1 16-1
                                   Entered
                                         Filed
                                            on 04/04/25
                                               FLSD Docket
                                                        Page
                                                           01/09/2025
                                                              6 of 42 PageID
                                                                       Page 5#:of391
                                                                                  26




  the manner described below is not consistent with Princeton University traditions,

  standards, and requirements.

        13.    Mr. Crotty’s father-in-law, a lawyer based in Boca Raton, Florida,

  incorporated Princeton Carbon Works and serves as its registered agent.

                 Mr. Daniels’ background and his meeting Mr. Crotty

        14.    Mr. Daniels, also a collegiate rower, moved to Princeton, New Jersey

  in 2003 after his graduation from the University of Wisconsin with a Bachelor of

  Science degree. Mr. Daniels was a three-time Eastern Area Rowing Conference

  Champion from 2000 through 2002 at Wisconsin making the Athletic Dean’s list.

  Mr. Daniels was also a five-time national team member of the U.S. Rowing Team

  with gold awards in the 2005 World Championships, 2003 Pan Am Games, 2002

  U23 World Championships, and bronze awards in the 2006 and 2004 World

  Championships.

        15.    Mr. Daniels met Mr. Crotty after his move to Princeton, New Jersey.

  At that time, Mr. Crotty was in the Princeton University rowing community coaching

  masters, juniors and eventually Princeton University’s team. They became friends

  within the greater Princeton rowing community at weekly poker nights and through

  a shared interest in cycling, becoming the core of a group of rowers who also cycled.

  The rowers turned to cycling to break up training on the water and for cross-training

  in the off-season.



                                           5
Case
Case 1:25-cv-20137-DPG
     1:25-cv-00131-RGA Document
                        Document1 16-1
                                   Entered
                                         Filed
                                            on 04/04/25
                                               FLSD Docket
                                                        Page
                                                           01/09/2025
                                                              7 of 42 PageID
                                                                       Page 6#:of392
                                                                                  26




        16.    Mr. Daniels grew up racing and repairing bicycles, ultimately

  developing a deep understanding of the mechanics of bicycle maintenance,

  equipment and parts engineering, technology and manufacturing. Upon Mr. Daniels’

  move to Princeton, he was hired as a mechanic at Jay’s Cycles, the oldest family-

  owned bicycle store in Princeton and Central New Jersey. During his time in

  Princeton, Mr. Daniels helped maintain the bicycles Mr. Crotty used for racing and

  other competitive cycling events.

        17.    Mr. Daniels subsequently left Princeton to study at the University of

  Oxford in Oxford, England. In 2006, he obtained a Master of Science, Nature,

  Society, and Environmental Policy degree from the university. While at Oxford, Mr.

  Daniels added to his rowing accomplishments winning championships in 2006 in

  the Boat Race OUBC First “Blue” Boat and in the Henley Royal Regatta Silver

  Goblets Cup.

        18.    Mr. Daniels returned to Princeton, New Jersey and from 2006 to 2016

  worked at Blenheim Capital Management, LLC, starting as an analyst. He then

  obtained a FINRA Series 3 license, becoming a trader in various commodities

  sectors executing market strategies. Mr. Daniels eventually became a portfolio

  manager managing discretionary portfolios through strategic risk positioning in base

  and precious materials, developing and executing trading strategies and overseeing

  positions valued at more than a billion dollars.



                                            6
Case
Case 1:25-cv-20137-DPG
     1:25-cv-00131-RGA Document
                        Document1 16-1
                                   Entered
                                         Filed
                                            on 04/04/25
                                               FLSD Docket
                                                        Page
                                                           01/09/2025
                                                              8 of 42 PageID
                                                                       Page 7#:of393
                                                                                  26




                   Mr. Daniels’ work with Princeton Carbon Works

        19.    In 2014, Mr. Crotty asked Mr. Daniels, as a bicycle expert, to

  accompany him and Mr. Macris to assist Mr. Crotty’s presentation of a carbon

  bicycle wheel prototype to WinTech Racing, a rowing shell manufacturer.

        20.    Mr. Crotty wrote Mr. Daniels:

        I would like to utilize your expertise in getting a hoop, spokes, hub
        constructed around the carbon fairing that we will have waiting for you.
        At the very least you'd become part of the conversation on how to get
        this done, and I see your input as potentially very valuable ... I see
        myself as a project manager and relationship guy. I think on one hand
        we are probably further along than you would think, on the other hand
        we are coming up woefully short on thinking the design aspects
        through. You can determine yourself once you learn more.

        21.    The Princeton Carbon Works prototype was of a low quality and

  significantly below the quality standards of the manufactured bicycle wheels

  currently available on the market. Mr. Daniels explained to Mr. Crotty and Mr.

  Macris his perspective on their prototype as well as the pricing landscape of the

  competitive bicycle wheel market.

        22.    From early 2017 through April 2017, Mr. Daniels became, in effect, an

  unpaid consultant to Princeton Carbon Works assisting and guiding Mr. Crotty, Mr.

  Macris and Mr. Werntz as they re-engaged with their carbon bicycle wheel project.

        23.    Mr. Daniels devoted his substantial talents and energies to achieve

  Princeton Carbon Works’ goal of developing a flagship line of products for carbon,

  tubeless bicycle wheels for time trial and triathlon bicycles.

                                            7
Case
Case 1:25-cv-20137-DPG
     1:25-cv-00131-RGA Document
                        Document1 16-1
                                   Entered
                                         Filed
                                            on 04/04/25
                                               FLSD Docket
                                                        Page
                                                           01/09/2025
                                                              9 of 42 PageID
                                                                       Page 8#:of394
                                                                                  26




        24.   In February 2017, Mr. Crotty wrote a potential investor in Princeton

  Carbon Works about Mr. Daniels:

        Most of all, we are thrilled to introduce Paul Daniels to you. As you
        most likely already know, Paul is a 2005 World Champion (US Men's
        8+, Gifu), a 2003 Eastern Sprints Champion (Wisconsin), and an
        Oxford Blue (winner of Boat Race 2005). Paul's impressive rowing
        history palls [sic] in comparison with his knowledge and passion for the
        bicycle industry. We expect Paul to make an immediate impact on our
        day to day operations, and he will be able to fully implement our sales,
        marketing, and branding strategy.

        25.   The potential investor’s fund eventually purchased an equity position

  in Princeton Carbon Works providing it with critical capital. The investment was

  conditioned on Princeton Carbon Works hiring Mr. Daniels to manage Princeton

  Carbon Works’ operations.

        26.   Mr. Daniels applied his industry experience and expertise on behalf of

  Princeton Carbon Works by engaging their investor, analyzing industry trends for a

  successful product alignment, developing web space strategy, working on sales,

  marketing, wholesale relationship development, event attendance, and calendar

  scheduling. He defined the company goal of developing a flagship line of carbon,

  tubeless bicycle wheels.

        27.   In addition to his academic and athletic accomplishments, Mr. Daniels

  contributed an additional skillset and reputation to Princeton Carbon Works from his

  having served as director of New York Athletic Club Elite Cycling Team from 2008

  to 2012 and as a brand ambassador for InGamba, the premier luxury cycling travel

                                           8
Case
 Case1:25-cv-20137-DPG
       1:25-cv-00131-RGADocument
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                                   16-1 Filed
                                           on FLSD
                                               04/04/25
                                                   DocketPage
                                                         01/09/2025
                                                              10 of 42Page
                                                                       PageID
                                                                           9 of#:26
                                      395



  company, from 2012 to 2017.

        28.   On February 13, 2017, Mr. Daniels proposed becoming the director of

  operations position at Princeton Carbon Works. In his email to Mr. Crotty, Mr.

  Daniels articulated the core of Princeton Carbon Works’ business strategy:

        The home and focus of the flagship product is obviously TT and Tri,
        however even in that realm minor adaptations/purchase options could
        yield gains in market product relevance versus competitors: tubeless
        ready / carbon core / disc hubset / depth options etc.

        In my opinion it's necessary to approach the - radically different aero
        section - rim profile as the base for a product line, not a single product.

        Utilizing alternative/varying rim beds/cores as well as lacing patterns
        and hub options, a greatly expanded consumer base would be realized.
        Considering cycling trends, and market share of disposable $s for the
        riding community, minor alterations to tire builds would diversify
        market reach.

        Namely :
        Tubeless (CX / road)
        Disc / Through Axel (CX / gravel fondos)
        Track / Single Speed (Red Hook Crit Series)

        29.   Mr. Daniels described a business plan for Princeton Carbon Works,

  outlined the contributions he could make to the company as director of operations

  and asked that his position be formalized.

        30.   On April 10, 2017, Mr. Werntz sent Mr. Daniels a formal offer from

  Princeton Carbon Works for the position of Director of Business Development

  which Mr. Daniels accepted. The offer included 10% the outstanding common stock

  in the company subject to restrictions and a vesting schedule. Mr. Daniels’ assuming

                                            9
Case
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     1:25-cv-20137-DPG
        1:25-cv-00131-RGADocument
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                                                 04/04/25
                                                     Docket 01/09/2025
                                                            Page 11 of 42Page
                                                                          PageID
                                                                              10 of
                                                                                 #:26
                                        396



   responsibility for the daily operations of Princeton Carbon Work resulted in the first

   outside investment into the company.

         31.    The contributions of Mr. Daniels to Princeton Carbon Works include

   his overseeing the successful product development of the Wake 6560 aero carbon

   road wheelset; developing the related quality control standardization; vetting and

   partnering with a sourcing agent; overhauling the company’s supply chain;

   managing the tooling with a new manufacturer; developing the advertising,

   branding, and marketing of the Wake 6560 and its re-design; managing all customs

   and import issues; handling freight negotiation and order fulfillment; inventory

   management; athlete support and key partnership development. Mr. Daniels’ work

   and his reputation and standing in both the rowing and bicycling community,

   together with his personal and professional network, were essential to Princeton

   Carbon Works being able to execute the launch of a highly technical product that

   included concepts and strategies necessary for a discerning audience.

         32.    Princeton Carbon Works was well on its way into its sales growth plan

   with 2017 being a year of abundant growth and transition as Princeton Carbon

   Works moved from product design to sales, advertising, branding, marketing, patent

   research and related projects. Princeton Carbon Works had developed an awesome

   product that it had carefully positioned into a well-received product and a steady

   growth in revenue.



                                            10
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     1:25-cv-20137-DPG
        1:25-cv-00131-RGADocument
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                                     16-1 Filed
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                                                 04/04/25
                                                     Docket 01/09/2025
                                                            Page 12 of 42Page
                                                                          PageID
                                                                              11 of
                                                                                 #:26
                                        397



         33.    In March 2018, Mr. Daniels personally provided bridge loan financing

   to Princeton Carbon Works, while the co-founders declined to contribute capital to

   its continued operations.

         34.    After Mr. Daniels’ first year of work at Princeton Carbon Works and

   his demonstrated accomplishments for and contributions to Princeton Carbon

   Works, Mr. Crotty, Mr. Werntz and Mr. Macris decided to substantially increase Mr.

   Daniels’ equity position in the company. Messrs. Daniels, Crotty, Harrison, Werntz

   and Princeton Carbon Works signed a Memorandum of Agreement on May 10, 2018

   bestowing on Mr. Daniels the status of co-founder of Princeton Carbon Works and

   immediately vesting and increasing his equity stake in the company (“Agreement”).

   A copy of the Agreement is attached as Exhibit “1”,.

         35.    The Agreement recitals state in part:

                E. Paul, as a consultant and part-time employee, has served as
                   the Company's chief operating officer and made valuable
                   contributions to the Company which Harrison, Brad and
                   Martin recognize.

                F. Harrison, Brad and Martin are desirous of Paul continuing his
                   association with the Company.

                G. Harrison, Brad and Martin have determined that in recognition
                   of Paul's past services and to induce Paul to continue his
                   association with the Company it is in the best interest of the
                   Company and its shareholders that Paul, without additional
                   consideration, at this time receive and be issued an 18.5%
                   equity interest in the Company while maintaining Rowing
                   Ventures' 10% equity interest.



                                            11
Case
  Case
     1:25-cv-20137-DPG
        1:25-cv-00131-RGADocument
                            Document
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                                     16-1 Filed
                                            on FLSD
                                                 04/04/25
                                                     Docket 01/09/2025
                                                            Page 13 of 42Page
                                                                          PageID
                                                                              12 of
                                                                                 #:26
                                        398



         36.   The operative provisions of the Agreement state:

               1. The above Recitals are true and correct and are incorporated
                  and made a part of this Agreement.

               2. Harrison hereby agrees to and shall relinquish and surrender
                  to the Company 3.75 of his shares in the Company for
                  reissuance to Paul, with Harrison retaining 285 shares.
                  Harrison shall concurrent with his execution of this
                  Memorandum execute the attached stock power.

               3. Martin hereby agrees to and shall relinquish and surrender to
                  the Company 14.875 of his shares in the Company for
                  reissuance to Paul, with Martin retaining 245 shares. Martin
                  shall concurrent with his execution of this Memorandum
                  execute the attached stock power.

               4. Brad hereby agrees to and shall relinquish and surrender to the
                  Company 36.375 of his shares in the Company for reissuance
                  to Paul, with Brad retaining 185 shares. Brad shall concurrent
                  with his execution of this Memorandum execute the attached
                  stock power.

               5. The Company shall promptly issue new stock certificates to
                  Harrison for 285 shares, to Martin for 245 shares and to Brad
                  for 185 shares.

               6. The Company shall promptly issue to Paul 185 certificated
                  shares of its common stock.

               7. Paul represents and agrees that the issuance of 185 shares of
                  the Company's common stock to him completes, satisfies and
                  complies with his prior and contemporaneous oral
                  discussions, representations, negotiations, arrangements and
                  agreements with the other Parties with regard to Paul
                  acquiring an equity interest in the Company and that all such
                  prior and contemporaneous discussions, representations,
                  negotiations, arrangements and agreements are merged into
                  this Agreement.



                                           12
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     1:25-cv-20137-DPG
        1:25-cv-00131-RGADocument
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                                            on FLSD
                                                 04/04/25
                                                     Docket 01/09/2025
                                                            Page 14 of 42Page
                                                                          PageID
                                                                              13 of
                                                                                 #:26
                                        399



                8. Martin is authorized to enter into and sign this Agreement on
                   behalf of the Company.

             Mr. Daniels’ resignation from Princeton Carbon Works and his
           efforts to value and sell his equity stake in Princeton Carbon Works

         37.    In March 2019, Mr. Daniels resigned from Princeton Carbon Works

   effective April 15, 2019. After his resignation, Mr. Daniels sought to ascertain the

   value of his 18.5% interest in Princeton Carbon Works and expressed his interest in

   the sale of his equity in the company. Mr. Daniels wrote and spoke with Mr. Crotty

   and exchanged emails with him about the value and sale of his stake in the company.

   Mr. Crotty added Mr. Macris to the email chain.

         38.    Mr. Crotty confirmed to Mr. Daniels in October 2020 that he received

   185 shares, of a total of 1000 shares, for an 18.5% interest in Princeton Carbon

   Works and that the shares were fully vested and not restricted. While Mr. Crotty

   wrote Mr. Daniels that he was “happy to answer any other questions” he had, Mr.

   Crotty did not provide Mr. Daniels with any records of its sales or revenues or the

   certified December 2019 business valuation.

         39.    Mr. Macris wrote Mr. Daniels later that month stating that Mr. Daniels’

   stock ownership was subject to a vesting schedule, contrary to Mr. Crotty’s prior

   statement, and that he strongly disagreed with Mr. Daniels’ “ability to sell or transfer

   [his] ownership, if any, in PCW to a buyer” without discussing the transaction with

   Princeton Carbon Works’ board. Mr. Macris asserted that either Mr. Daniels did not



                                             13
Case
  Case
     1:25-cv-20137-DPG
        1:25-cv-00131-RGADocument
                            Document
                                  1 Entered
                                     16-1 Filed
                                            on FLSD
                                                 04/04/25
                                                     Docket 01/09/2025
                                                            Page 15 of 42Page
                                                                          PageID
                                                                              14 of
                                                                                 #:26
                                        400



   have an equity interest in Princeton Carbon Works or that any such interest was

   subject to restrictions, again contrary to Mr. Crotty’s earlier statements.

         40.    Mr. Daniels’ subsequent efforts to ascertain the value of his equity stake

   in Princeton Carbon Works and to sell his interest were met by a series of statements

   by Mr. Crotty and Mr. Macris including statements that:

         a. Mr. Daniels’ stake in Princeton Carbon Works had been diluted and
            was of nominal value;

         b. Mr. Daniels’ 18.5% interest in Princeton Carbon Works that he
            received pursuant to the Agreement was subject to a vesting
            schedule from a prior and superseded agreement;

         c. Mr. Daniels’ equity interest was restricted and required consultation
            with and approval of the company’s board of directors before he
            could sell his interest;

         d. Princeton Carbon Works does not even know what interest Mr.
            Daniels had in the company;

         e. Mr. Daniels’ interest in Princeton Carbon Works had been “diluted”
            from 18.5% to 1.85%;

         f. Mr. Daniels’ interest in Princeton Carbon Works had been “fully
            diluted”;

         g. Mr. Daniels’ interest in Princeton Carbon Works had been diluted
            from 18.5% to 6.85% worth $173,000.00;

         h. Mr. Daniels should accept a $300,000.00 payment for his interest in
            a “blind sale”, that is a sale by Mr. Daniels of his interest without
            him having any access to the corporate and financial records of
            Princeton Carbon Works that would allow him to ascertain his
            interest in the company and to verify the assertions of Mr. Crotty
            and Mr. Macris about his interest in the company; and


                                             14
Case
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     1:25-cv-20137-DPG
        1:25-cv-00131-RGADocument
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                                  1 Entered
                                     16-1 Filed
                                            on FLSD
                                                 04/04/25
                                                     Docket 01/09/2025
                                                            Page 16 of 42Page
                                                                          PageID
                                                                              15 of
                                                                                 #:26
                                        401




         i. Mr. Daniels should accept Princeton Carbon Works’ offer of a
            $647,000.00 payment for his interest in a “blind sale”, again, a sale
            without Mr. Daniels having access to the corporate and financial
            records of the company that would allow him to ascertain the fair
            market value of his interest in the company and to verify the
            statements made by Mr. Crotty and Mr. Macris about his interest in
            the company.

         41.   The statements by Mr. Crotty and Mr. Macris and offers of a payment

   to Mr. Daniels were coupled with a general refusal to provide Mr. Daniels with the

   documents he requested on numerous occasions about the finances of Princeton

   Carbon Works and documents about the supposed dilution of Mr. Daniels’ shares,

   including his requests for shareholder agreements, records regarding its

   shareholders, outstanding shares and class of shares required by Chapter 607 of the

   Florida Statutes and the by-laws of the company.

         42.   Princeton Carbon Works and Mr. Crotty refused formal requests for the

   corporate records made on behalf of Mr. Daniels on July 22, 2024, August 1, 2024,

   and August 9, 2024.

         43.   At no time from Mr. Daniels’ resignation from Princeton Carbon Works

   in March 2019 through July 2024, had Mr. Daniels received any notices from

   Princeton Carbon Works of shareholder or directors annual or special meetings or

   notices of corporate action or written consents describing any action taken by

   approving shareholders under either Chapter 607, Florida Statutes or the By-Laws



                                           15
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     1:25-cv-20137-DPG
        1:25-cv-00131-RGADocument
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                                  1 Entered
                                     16-1 Filed
                                            on FLSD
                                                 04/04/25
                                                     Docket 01/09/2025
                                                            Page 17 of 42Page
                                                                          PageID
                                                                              16 of
                                                                                 #:26
                                        402



   of Princeton Carbon Works.

         44.    At or around the time of many of the statements by Mr. Crotty and Mr.

   Macris to Mr. Daniels, described above, regarding his equity interest, Princeton

   Carbon Works filed a Federal Rule of Civil Procedure 7.1 Certificate of Interest

   identifying Mr. Daniels as a shareholder of the company having “a financial interest

   in the outcome” of a case pending in this Court as SRAM, LLC v. Princeton Carbon

   Works Inc., Case No. 9:21-cv-80581 RKA (S.D. Fla.) [ECF No. 19].

         45.    In that same civil action, plaintiff’s counsel filed a declaration attaching

   a “document entitled ‘PCW-Pitch-Deck.pdf’ and available on June 3, 2021” on the

   internet identifying Mr. Daniels as one of the founders of Princeton Carbon Works

   [ECF No. 28-1 and 28-13].

         46.    On June 21, 2024, Princeton Carbon Works filed articles of merger with

   the Florida Secretary of State Division of Corporations. The articles identified

   Princeton Carbon Works as the merging entity and Princeton CarbonWorks DE as

   the surviving entity.

         47.    On June 21, 2024, Mr. Crotty, Mr. Macris and Mr. Werntz, in their

   capacity as shareholders of Princeton Carbon Works and members of its Board of

   Directors, unanimously voted to enter into an Agreement and Plan of Merger with

   PCW Holdco, Inc., a Delaware corporation as the Parent. The online records of the

   Delaware Division of Corporations do not report the existence of an entity by the



                                             16
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  Case
     1:25-cv-20137-DPG
        1:25-cv-00131-RGADocument
                            Document
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                                                 04/04/25
                                                     Docket 01/09/2025
                                                            Page 18 of 42Page
                                                                          PageID
                                                                              17 of
                                                                                 #:26
                                        403



   name of PCW Holdco, Inc. The Agreement and Plan of Merger states that

   immediately following the merger, the name of the surviving corporation shall be

   Princeton CarbonWorks DE, and the separate existence of Princeton Carbon Works

   shall cease and be merged into the parent.

         48.    On or about June 21, 2024, Princeton Carbon Works provided Mr.

   Daniels documentation regarding the merger and notice of appraisal rights of his

   interest pursuant to sections 607.1301 through 607.1340, Florida Statutes.

         49.    On August 21, 2024, Mr. Daniels gave formal notice of his withdrawal

   from Princeton Carbon Works appraisal process to assert his rights under section

   607.1304, Florida Statutes. Mr. Daniels withdrew from the process because the

   contemplated corporate action was not authorized and approved in accordance with

   the applicable provisions of chapter 607, and was procured as a result of fraud, a

   material misrepresentations, and omissions of material facts necessary to make

   statements made, in light of the circumstances in which they were made, not

   misleading. The entire merger was intended and designed by Defendants as a freeze-

   out merger to unfairly eliminate Mr. Daniels’ interest in Princeton Carbon Works at

   a fraction of its actual value, convert all of the assets of Princeton Carbon Works,

   including its good will, and was in complete disregard of their fiduciary duties of

   disclosure, good faith and fair dealing.

         50.    All conditions precedent to this action have occurred, have been



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     1:25-cv-20137-DPG
        1:25-cv-00131-RGADocument
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                                                 04/04/25
                                                     Docket 01/09/2025
                                                            Page 19 of 42Page
                                                                          PageID
                                                                              18 of
                                                                                 #:26
                                        404



   performed, or have otherwise been waived.

                        Count I – Action for declaratory relief
                              (Against all Defendants)

         51.    Mr. Daniels repeats the allegations in paragraphs 1 – 50.

         52.    There exists a justiciable and actual controversy and dispute between

   Mr. Daniels and Defendants regarding Mr. Daniels’ interest in Princeton Carbon

   Works, Princeton CarbonWorks DE; the purported merger between the two entities;

   and the legal rights and obligations of those entities and of Mr. Crotty, Mr. Macris,

   Mr. Werntz, and Princeton Carbon Works to Mr. Daniels.

         53.    Mr. Daniels seeks a declaration and further relief regarding:

                a. The extent and present fair market value of his interest in Princeton

                   Carbon Works and Princeton CarbonWorks DE and his ability to

                   sell his interest to a third party;

                b. Whether the merger between Princeton Carbon Works and

                   Princeton CarbonWorks DE was procured as a result of fraud,

                   material misrepresentation, or an omission of a material fact

                   necessary to make statements made, in light of the circumstances in

                   which they were made, not misleading, and Mr. Daniels’ rights and

                   duties regarding the merger and his valuation rights as a shareholder

                   who did not vote on the merger plan;

                c. Whether the actions and omissions of Mr. Crotty, Mr. Macris and

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        1:25-cv-00131-RGADocument
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                                                 04/04/25
                                                     Docket 01/09/2025
                                                            Page 20 of 42Page
                                                                          PageID
                                                                              19 of
                                                                                 #:26
                                        405



                    Mr. Werntz were in breach of their fiduciary duty to Mr. Daniels;

                    and

                d. All other rights and other legal relations of Mr. Daniels’ with Mr.

                    Crotty, Mr. Macris and Mr. Werntz, Princeton Carbon Works and

                    Princeton CarbonWorks DE.

         54.    Mr. Daniels seeks further necessary and proper relief based on the

   declaratory judgment, after reasonable notice and hearing, against any adverse party

   whose rights have been determined by the judgment in the form of damages and

   preliminary and permanent injunctive relief for irreparable damages suffered by Mr.

   Daniels for which there is not an adequate remedy at law.

         WHEREFORE, Plaintiff, Paul Daniels, request entry of a declaratory

   judgment against Defendants, jointly and severally, declaring his rights and the legal

   obligations of the parties and a judgment for other relief including for Mr. Daniels’

   direct and consequential damages, prejudgment interest, preliminary and permanent

   injunctive relief, costs and such further relief that is just and appropriate.

                         Count II – Breach of contract
   (Against Mr. Crotty, Mr. Macris, Mr. Werntz and Princeton Carbon Works)

         55.    Mr. Daniels repeats the allegations in paragraphs 1 – 50.

         56.    Mr. Crotty, Mr. Macris, Mr. Werntz and Princeton Carbon Works

   breached the Agreement by failing to recognize and comply with its provisions

   regarding Mr. Daniels’ unrestricted and fully vested ownership of 18.5% of

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                                                 04/04/25
                                                     Docket 01/09/2025
                                                            Page 21 of 42Page
                                                                          PageID
                                                                              20 of
                                                                                 #:26
                                        406



   Princeton Carbon Works.

         57.    Their breach of the Agreement directly caused damages to Mr. Daniels

   entitling him to a judgment against Mr. Crotty, Mr. Macris, Mr. Werntz and

   Princeton Carbon Works for his damages.

         WHEREFORE, Plaintiff, Paul Daniels, requests entry of judgment against

   Mr. Crotty, Mr. Macris, Mr. Werntz and Princeton Carbon Works for his direct and

   consequential damages, prejudgment interest, costs and such further relief that is just

   and appropriate.

      Count III – Breach of implied covenants of good faith and fair dealing
   (Against Mr. Crotty, Mr. Macris, Mr. Werntz and Princeton Carbon Works)

         58.    Mr. Daniels repeats the allegations in paragraphs 1 – 50.

         59.    Under the Agreement, Mr. Crotty, Mr. Macris, Mr. Werntz are required

   to perform certain obligations. The Agreement contains an implied covenant of good

   faith and fair dealing related to those obligations.

         60.    Mr. Crotty, Mr. Macris, Mr. Werntz and Princeton Carbon Works

   breached the implied covenant of good faith and fair dealing by, among other things,

   their refusal to recognize Mr. Daniels’ 18.5% unrestricted and fully vested interest

   in Princeton Carbon Works; their false statements about Mr. Daniels’ interest in the

   company; their refusal to permit Mr. Daniels access to corporate records and

   financial information of Princeton Carbon Works; and their unanimous efforts to

   convert Mr. Daniels interest for themselves without compensation Mr. Daniels and

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                                                 04/04/25
                                                     Docket 01/09/2025
                                                            Page 22 of 42Page
                                                                          PageID
                                                                              21 of
                                                                                 #:26
                                        407



   the assets of Princeton Carbon Works through the device of a freeze-out merger.

         WHEREFORE, Plaintiff, Paul Daniels, requests entry of judgment against

   Defendants for his direct and consequential damages, prejudgment interest, costs

   and such further relief that is just and appropriate.

                 Count IV – Action for breach of fiduciary duty
   (Against Mr. Crotty, Mr. Macris, Mr. Werntz and Princeton Carbon Works)

         61.    Mr. Daniels repeats the allegations in paragraphs 1 – 50, 56 and 60.

         62.    Mr. Crotty, Mr. Macris, Mr. Werntz, as directors of Princeton Carbon

   Works, all owed a fiduciary duty to Mr. Daniels as a shareholder owning 18.5% of

   the company. Princeton Carbon Works also owed a fiduciary duty to its

   shareholders.

         63.    Mr. Crotty, Mr. Macris, Mr. Werntz and Princeton Carbon Works

   breached their fiduciary duty to Mr. Daniels causing him damages and entitling him

   to a judgment against them.

         WHEREFORE, Plaintiff, Paul Daniels, requests entry of judgment against

   Defendants Crotty, Macris, Werntz and Princeton Carbon Works, jointly and

   severally, for Mr. Daniels’ direct and consequential damages, prejudgment interest,

   punitive damages, costs and such further relief that is just and appropriate.

               Count V – Conspiracy to commit breach of fiduciary duty
                              (Against all Defendants)

         64.    Mr. Daniels repeats the allegations in paragraphs 1 – 50, 56 and 60.



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                                                     Docket 01/09/2025
                                                            Page 23 of 42Page
                                                                          PageID
                                                                              22 of
                                                                                 #:26
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         65.    Mr. Crotty, Mr. Macris, Mr. Werntz, Princeton Carbon Works and

   Princeton CarbonWorks DE all conspired among themselves to, among other things,

   effect a freeze-out merger to deprive Mr. Daniels of his interest in Princeton Carbon

   Works by eliminating the company to force Mr. Daniels to accept a value for a

   reduced equity interest in Princeton Carbon Works that was substantially less than

   the fair market value of his full interest in that company.

         66.    Mr. Crotty, Mr. Macris and Mr. Werntz had a personal stake in the

   activity because reducing or eliminating Mr. Daniels’ equity stake in Princeton

   Carbon Works for a reduced payment, or no payment at all to him, would increase

   the size and value of their personal equity interest in the company.

         67.    The Defendants conspired among themselves by, among other things,

   working in concert to make false statements to Mr. Daniels about the extent of his

   interest in Princeton Carbon Works and to question even the existence of an interest

   in Princeton Carbon Works; denying Mr. Daniels access to corporate and financial

   records of Princeton Carbon Works to which he was entitled as a shareholder; and

   by making false statement to Mr. Daniels about the true value of Princeton Carbon

   Works.

         WHEREFORE, Plaintiff, Paul Daniels, requests entry of judgment against

   Defendants, jointly and severally, for his direct and consequential damages,

   prejudgment interest, punitive damages, attorneys’ fees and costs and such further



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                                                 04/04/25
                                                     Docket 01/09/2025
                                                            Page 24 of 42Page
                                                                          PageID
                                                                              23 of
                                                                                 #:26
                                        409



   relief that is just and appropriate.

                            Count VI – Action for Conversion
                                (Against all Defendants)

          68.     Mr. Daniels repeats the allegations in paragraphs 1 – 50, 56 and 60.

          69.     Mr. Daniels owns an 18.5% interest in Princeton Carbon Works

   pursuant to the Agreement with Mr. Crotty, Mr. Macris, Mr. Werntz, and Princeton

   Carbon Works.

          70.     Defendants wrongfully deprived Mr. Daniels of his interest in Princeton

   Carbon Works and has refused to return his interest to him despite the repeated

   demands of Mr. Daniels, entitling Mr. Daniels to a judgment against all Defendants,

   jointly and severally.

          WHEREFORE, Plaintiff, Paul Daniels, requests entry of judgment against

   Defendants, jointly and severally, for his direct and consequential damages,

   prejudgment interest, punitive damages, attorneys’ fees and costs and such further

   relief that is just and appropriate.

                Count VII – Conspiracy to commit breach of fiduciary duty
                                (Against all Defendants)

          71.     Mr. Daniels repeats the allegations in paragraphs 1 – 50, 56 and 60.

          72.     Mr. Crotty, Mr. Macris, Mr. Werntz, Princeton Carbon Works and

   Princeton CarbonWorks DE all conspired among themselves to, among other things,

   convert Princeton Carbon Works’ assets by unanimously effecting a freeze-out



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     1:25-cv-20137-DPG
        1:25-cv-00131-RGADocument
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                                                 04/04/25
                                                     Docket 01/09/2025
                                                            Page 25 of 42Page
                                                                          PageID
                                                                              24 of
                                                                                 #:26
                                        410



   merger that would also deprive Mr. Daniels of his interest in Princeton Carbon

   Works or force him to accept a reduced value for his equity interest in Princeton

   Carbon Works that was substantially less than the fair market value of his full

   interest in that company.

          73.    Mr. Crotty, Mr. Macris and Mr. Werntz had a personal stake in the

   activity because by reducing or eliminating Mr. Daniels’ equity stake in Princeton

   Carbon Works for a reduced payment or no payment at all would increase the size

   and value of their personal equity interest in the company.

          WHEREFORE, Plaintiff, Paul Daniels, requests entry of judgment against

   Defendants, jointly and severally, for his direct and consequential damages,

   prejudgment interest, punitive damages, attorneys’ fees and costs and such further

   relief that is just and appropriate.

                           Count VIII – Action for accounting
                           (Against Princeton Carbon Works)

          74.    Mr. Daniels repeats the allegations in paragraphs 1 – 50, 56 and 60.

          75.    Mr. Daniels owns 18.5% of Princeton Carbon Works pursuant to the

   Agreement. The Defendants have disputed the extent of his interest and whether his

   interest even exists. They have sought to deprive and reduce the extent of his interest

   through the implantation of a freeze-out merger with Princeton CarbonWorks DE

   acquiring the assets and goodwill of Princeton Carbon Works, in an action designed

   to reduce or eliminate Mr. Daniels’ interest in Princeton Carbon Works.

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                                                 04/04/25
                                                     Docket 01/09/2025
                                                            Page 26 of 42Page
                                                                          PageID
                                                                              25 of
                                                                                 #:26
                                        411



         76.    Mr. Crotty and Mr. Macris have also refused Mr. Daniels’ access to the

   records and information of Princeton Carbon Works.

         77.    Based on the fiduciary duty that exists between Mr. Crotty, Mr. Macris,

   Mr. Werntz, Princeton Carbon Works and Mr. Daniels and the inadequacy of a

   remedy at law, Mr. Daniels is entitled to an equitable accounting from Defendants.

         WHEREFORE, Plaintiff, Paul Daniels, requests a determination that Mr.

   Daniels is entitled to an equitable accounting followed by a full and complete

   accounting in accordance with the determination, costs and such further relief that is

   just and appropriate.

              Count IX – Action for inspection of corporate records
       (Against Princeton Carbon Works and Princeton Carbon Works DE)

         78.    Mr. Daniels repeats the allegations in paragraphs 1 – 50.

         79.    Mr. Crotty, Mr. Macris, Mr. Werntz, Princeton Carbon Works and

   Princeton CarbonWorks DE have wrongfully denied Mr. Daniels’ access to the

   corporate and financial records of Princeton Carbon Works, entitling Mr. Daniels to

   a judgment against Defendants.

         WHEREFORE, Plaintiff Paul Daniels requests entry of judgment against

   Defendants, jointly and severally, for his direct and consequential damages,

   prejudgment interest and costs and such further relief that is just and appropriate.




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                                                 04/04/25
                                                     Docket 01/09/2025
                                                            Page 27 of 42Page
                                                                          PageID
                                                                              26 of
                                                                                 #:26
                                        412



                                 JURY DEMAND

         PLAINTIFF DEMANDS TRIAL BY JURY ON ALL ISSUES SO

   TRIABLE.

   Dated: January 9, 2025

                                       Respectfully submitted,

                                       WEISSMAN & DERVISHI, P.A.

                                       By:    /s/ Brian S. Dervishi
                                             Brian S. Dervishi
                                             Luke T. Jacobs
                                             Victoria Max
                                       Fla. Bar Nos. 350303, 1024787 and 1059815
                                       One SE Third Avenue, Suite 1700
                                       Miami, Florida 33131
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                                       ljacobs@wdpalaw.com
                                       vmax@wdpalaw.com
                                       service@wdpalaw.com

                                       Attorneys for Plaintiff Paul Daniels




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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
I. (a)     PLAINTIFFS                                                                                        DEFENDANTS
                               Daniels, Paul                                                                                          Crotty, Martin, et al.

   (b) County of Residence of First Listed Plaintiff Montgomery                                               County of Residence of First Listed Defendant
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                            (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:                    IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                       THE TRACT OF LAND INVOLVED.
   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)

      Weissman & Dervishi, P.A., 1 SE Third Ave; # 1700, Miami, FL 33131

(d) Check County Where Action Arose:             MIAMI- DADE         MONROE         BROWARD         PALM BEACH      MARTIN     ST. LUCIE    INDIAN RIVER    OKEECHOBEE        HIGHLANDS

II. BASIS OF JURISDICTION                        (Place an “X” in One Box Only)               III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                         (For Diversity Cases Only)                                       and One Box for Defendant)
‫ ܆‬1      U.S. Government             ‫܆‬3      Federal Question                                                                     PTF        DEF                                          PTF DEF
           Plaintiff                          (U.S. Government Not a Party)                   ‫܆‬     Citizen of This State          ‫ ܆‬1       ‫ ܆‬1     Incorporated or Principal Place      ‫ ܆‬4   ‫܆‬4
                                                                                                                                                     of Business In This State

‫ ܆‬2      U.S. Government             ‫܆‬4        Diversity                                      ‫܆‬     Citizen of Another State       ‫ ܆‬2       ‫ ܆‬2     Incorporated and Principal Place     ‫ ܆‬5   ‫ ܆‬5
           Defendant                          (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                    Citizen or Subject of a
                                                                                                    Foreign Country                ‫ ܆‬3       ‫ ܆‬3     Foreign Nation                       ‫ ܆‬6   ‫ ܆‬6
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                             Click here for: Nature of Suit Code Descriptions
           CONTRACT                                           TORTS                                    FORFEITURE/PENALTY                   BANKRUPTCY                          OTHER STATUTES
‫ ܆‬110 Insurance                   PERSONAL INJURY                    PERSONAL INJURY                ‫ ܆‬625 Drug Related Seizure         ‫ ܆‬422 Appeal 28 USC 158           ‫ ܆‬375 False Claims Act
‫ ܆‬120 Marine                    ‫ ܆‬310 Airplane                     ‫ ܆‬365 Personal Injury -                of Property 21 USC 881       ‫ ܆‬423 Withdrawal                  ‫ ܆‬376 Qui Tam (31 USC 3729(a))
‫ ܆‬130 Miller Act                ‫ ܆‬315 Airplane Product                   Product Liability          ‫ ܆‬690 Other                              28 USC 157                    400 State Reapportionment
‫ ܆‬140 Negotiable Instrument           Liability                    ‫ ܆‬367 Health Care/                                                                                    ‫ ܆‬410 Antitrust
‫ ܆‬150 Recovery of Overpayment   ‫ ܆‬320 Assault, Libel &                   Pharmaceutical                                          INTELLECTUAL PROPERTY ‫ ܆‬430 Banks and Banking
                                                                                                                                            RIGHTS
      & Enforcement of Judgment       Slander                            Personal Injury                                         ‫ ܆‬820 Copyrights                  ‫ ܆‬450 Commerce
‫ ܆‬151 Medicare Act              ‫ ܆‬330 Federal Employers’                 Product Liability                                       ‫ ܆‬830 Patent                      ‫ ܆‬460 Deportation
‫ ܆‬152   Recovery of Defaulted
  Student Loans                       Liability                                                                                  ‫ ܆‬835New
                                                                                                                                        Patent – Abbreviated
                                                                                                                                            Drug Application       ‫ ܆‬470   Racketeer Influenced
                                                                                                                                                                       and Corrupt Organizations
                                                                    368 Asbestos Personal
                                                                 ‫ ܆‬Injury Product Liability                                      ‫ ܆‬840 Trademark
  (Excl. Veterans)                 ‫ ܆‬340 Marine                                                                                                                    ‫ ܆‬480(15Consumer Credit
                                                                                                                                 ‫ ܆‬880  Defend Trade Secrets
                                                                                                                                      Act of 2016
                                                                                                                                                                              USC 1681 or 1692)
‫ ܆‬153 Recovery of Overpayment      ‫ ܆‬345 Marine Product                                                    LABOR                     SOCIAL SECURITY                   485 Telephone   Consumer
                                                                                                                                                                   ‫ ܆‬Protection Act (TCPA)
  of Veteran’s Benefits                     Liability              PERSONAL PROPERTY ‫ ܆‬710 Fair Labor Standards Acts ‫ ܆‬861 HIA (1395ff)                            ‫ ܆‬490 Cable/Sat TV
‫ ܆‬160 Stockholders’ Suits          ‫ ܆‬350 Motor Vehicle           ‫ ܆‬370 Other Fraud              ‫ ܆‬720 Labor/Mgmt. Relations      ‫ ܆‬862 Black Lung (923)            ‫ ܆‬850 Securities/Commodities/
‫ ܆‬190 Other Contract               ‫ ܆‬355 Motor Vehicle           ‫ ܆‬371 Truth in Lending         ‫ ܆‬740 Railway Labor Act          ‫ ܆‬863 DIWC/DIWW (405(g))              Exchange
‫ ܆‬195 Contract Product Liability           Product Liability     ‫ ܆‬380 Other Personal           ‫ ܆‬751 Family and Medical         ‫ ܆‬864 SSID Title XVI              ‫ ܆‬890 Other Statutory Actions
‫ ܆‬196 Franchise                    ‫ ܆‬360 Other Personal             Property Damage                    Leave Act                 ‫ ܆‬865 RSI (405(g))                ‫ ܆‬891 Agricultural Acts
                                           Injury                ‫ ܆‬385 Property Damage          ‫ ܆‬790 Other Labor Litigation                                       ‫ ܆‬893 Environmental Matters
                                   ‫ ܆‬362 Personal Injury -          Product Liability           ‫ ܆‬791 Employee Retirement                                          ‫ ܆‬895 Freedom of Information Act
                                           Med. Malpractice                                          Income Security Act                                           ‫ ܆‬896 Arbitration
       REAL PROPERTY                      CIVIL RIGHTS            PRISONER PETITIONS                                                FEDERAL TAX SUITS              ‫ ܆‬899 Administrative Procedure
‫ ܆‬210 Land Condemnation            ‫ ܆‬440 Other Civil Rights         Habeas Corpus:                                               ‫ ܆‬870   Taxes (U.S. Plaintiff or
                                                                                                                                    Defendant)
                                                                                                                                                                       Act/Review or Appeal of
                                                                                                                                                                       Agency Decision
‫ ܆‬220 Foreclosure                  ‫ ܆‬441 Voting                 ‫ ܆‬463 Alien Detainee                                                871
                                                                                                                                 ‫ ܆‬7609 IRS—Third    Party 26 USC  ‫ ܆‬950   Constitutionality of
                                                                                                                                                                       State Statutes
‫ ܆‬230 Rent Lease & Ejectment       ‫ ܆‬442 Employment              ‫ ܆‬510   Motions to Vacate
                                                                    Sentence
‫ ܆‬240 Torts to Land                    443 Housing/
                                   ‫ ܆‬Accommodations              ‫ ܆‬530 General
‫ ܆‬245 Tort Product Liability       ‫ ܆‬445 Amer. w/Disabilities - ‫ ܆‬535 Death Penalty                    IMMIGRATION
‫ ܆‬290 All Other Real Property              Employment               Other:                      ‫ ܆‬462 Naturalization Application
                                   ‫ ܆‬446 Amer. w/Disabilities - ‫ ܆‬540 Mandamus & Other ‫ ܆‬465 Other Immigration
                                           Other                 ‫ ܆‬550 Civil Rights                   Actions
                                   ‫ ܆‬448 Education               ‫ ܆‬555 Prison Condition
                                                                    560 Civil Detainee –
                                                                 ‫ ܆‬Conditions of
                                                                    Confinement
V. ORIGIN                  (Place an “X” in One Box Only)
                                                                                                           ‫ ܆‬6 Multidistrict
                                                                                      Transferred from
‫ ܆‬1 Original         ‫ ܆‬2 Removed ‫ ܆‬3 Re-filed ‫ ܆‬4 Reinstated ‫ ܆‬5 another district                               Litigation        ‫ ܆‬7 Appeal to            ‫ ܆‬8 Multidistrict          Remanded from
       Proceeding           from State          (See VI         or
                            Court               below)          Reopened              (specify)                 Transfer                 District Judge          Litigation ‫ ܆‬9 Appellate Court
                                                                                                                                         from Magistrate         – Direct
                                                                                                                                         Judgment                File
VI. RELATED/                            (See instructions): a) Re-filed Case      ‫܆‬YES ‫ ܆‬NO                   b) Related Cases ‫܆‬YES ‫ ܆‬NO
RE-FILED CASE(S)                                           JUDGE:                                                                    DOCKET NUMBER:
                                        Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION 28 U.S.C. § 1332
                                        LENGTH OF TRIAL via 10                 days estimated (for both sides to try entire case)
VIII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION
                                                                                                       DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                              UNDER F.R.C.P. 23
                                                                                                                                               JURY DEMAND:                 ‫ ܆‬Yes       ‫ ܆‬No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE                                                                         SIGNATURE OF ATTORNEY OF RECORD

Jan 9, 2025                                                 Brian                             S.                   Dervishi
FOR OFFICE USE ONLY : RECEIPT #                            AMOUNT                             IFP                 JUDGE                              MAG JUDGE
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                                                                      29 of 42 PageID
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                       PAUL DANIELS                                 )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                           Civil Action No.
                                                                    )
      MARTIN CROTTY, HARRISON MACRIS,                               )
     BRADLEY WERNTZ, PRINCETON CARBON                               )
      WORKS INC., a Florida corporation, et al.                     )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) MARTIN CROTTY
                                           383 Herrontown Rd
                                           Princeton, NJ 08540




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: BRIAN S. DERVISHI
                                           WEISSMAN & DERVISHI, P.A.
                                           One SE Third Avenue, Suite 1700
                                           Miami, Florida 33131



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


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                                                                       30 of 42 PageID
                                                                                Page 2 of
                                                                                       #: 10
                                             415
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
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                                                                               Page 3 of
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                       PAUL DANIELS                                 )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                           Civil Action No.
                                                                    )
      MARTIN CROTTY, HARRISON MACRIS,                               )
     BRADLEY WERNTZ, PRINCETON CARBON                               )
      WORKS INC., a Florida corporation, et al.                     )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) HARRISON MACRIS
                                           8 SUMMIT ST
                                           MYSTIC, CT 06355




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: BRIAN S. DERVISHI
                                           WEISSMAN & DERVISHI, P.A.
                                           One SE Third Avenue, Suite 1700
                                           Miami, Florida 33131



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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                                                                       32 of 42 PageID
                                                                                Page 4 of
                                                                                       #: 10
                                             417
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

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           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
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                                                    __________ Districtof
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                                                                          Florida


                       PAUL DANIELS                                 )
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                            Plaintiff(s)                            )
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                                v.                                           Civil Action No.
                                                                    )
      MARTIN CROTTY, HARRISON MACRIS,                               )
     BRADLEY WERNTZ, PRINCETON CARBON                               )
      WORKS INC., a Florida corporation, et al.                     )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) BRADLEY WERNTZ
                                           775 MAJOR POTTER RD
                                           EAST GREENWICH, RI 02818




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: BRIAN S. DERVISHI
                                           WEISSMAN & DERVISHI, P.A.
                                           One SE Third Avenue, Suite 1700
                                           Miami, Florida 33131



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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                                                                       34 of 42 PageID
                                                                                Page 6 of
                                                                                       #: 10
                                             419
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

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                                                                                on (date)                             ; or

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                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
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                       PAUL DANIELS                                 )
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                            Plaintiff(s)                            )
                                                                    )
                                v.                                           Civil Action No.
                                                                    )
      MARTIN CROTTY, HARRISON MACRIS,                               )
     BRADLEY WERNTZ, PRINCETON CARBON                               )
      WORKS INC., a Florida corporation, et al.                     )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) PRINCETON CARBON WORKS, INC.
                                           C/O MICHAEL G. PLATNER, ESQ.
                                           LEWIS BRISBOIS BISGAARD & SMITH LLP
                                           110 SE 6TH STREET, SUITE 2600
                                           FORT LAUDERDALE, FLORIDA 33301



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
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                                           One SE Third Avenue, Suite 1700
                                           Miami, Florida 33131



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
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                                                                       36 of 42 PageID
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                                                                                       #: 10
                                             421
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

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 Date:
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                                                                                        Printed name and title




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                                                                      37 of 42 PageID
                                                                               Page 9 of
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
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                                                                          Florida


                       PAUL DANIELS                                 )
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                            Plaintiff(s)                            )
                                                                    )
                                v.                                           Civil Action No.
                                                                    )
      MARTIN CROTTY, HARRISON MACRIS,                               )
     BRADLEY WERNTZ, PRINCETON CARBON                               )
      WORKS INC., a Florida corporation, et al.                     )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

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whose name and address are: BRIAN S. DERVISHI
                                           WEISSMAN & DERVISHI, P.A.
                                           One SE Third Avenue, Suite 1700
                                           Miami, Florida 33131



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                                                                     38 of 42 Page
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                                                                                      of 10
                                           423
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

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                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


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 Date:
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                                                              01/09/2025
                                                                 40 of 42 PageID
                                                                           Page 2 #:
                                                                                  of 4
                                        425
                                                                                       DRAFT 5/10/18



                                     MEMORANDUM OF AGREEMENT



            This Memorandum of Agreement (the "Agreement") is made this                 r,o-t\l\
                                                                                   day of
      May, 2018 by and among Paul Daniels ("Paul"), Harrison Macris ("Harrison"), Bradley
      Werntz ("Brad"), Martin M. Crotty ("Martin") and Princeton Carbon Works, Inc. (the
      "Company"), who collectively are referred to as the Parties.

                                                     Recitals

            A.              Harrison, Brad and Martin are the founders and initial shareholders of the
       Company.

              B.     In March, 20 I 7 Rowing Ventures, LLC, ("Rowing Ventures"), for
       consideration and pursuant to a Simple Agreement For Future Equity, was issued 100
       shares of the Company's common stock representing a I 0% equity interest in the
       Company.

              C.     In March, 2017 the Company reserved 130 shares of its common stock to be
       used for incentives and for Rowing Ventures' option, if exercised, to acquire up to an
       additional 30 shares of the Company's stock, which option expired without being
       exercised.

              D.     Presently, the Company's issued and reserved shares total 1000 as follows:
       Rowing Ventures - 100 shares; Harrison - 288.75 shares; Brad- 221.375 shares; Martin -
       259.875 shares; and Reserved - 130 shares.

             E.      Paul, as a consultant and part-time employee, has served as the Company's
      chief operating officer and made valuable contributions to the Company which Harrison,
      Brad and Martin recognize.

              F.   Harrison, Brad and Martin are desirous of Paul continuing his association
      with the Company.

              G.     HaiTison, Brad and Maitin have detennined that in recognition of Paul's
      past services and to induce Paul to continue his association with the Company it is in the
      best interest of the Company and its shareholders that Paul, without additional
      consideration, at this time receive and be issued an 18.5% equity interest in the Company
      while maintaining Rowing Ventures' l 0% equity interest.

                                                        Agreement

              IN CONSIDERATION, of the above Recitals, the covenants contained herein and
      for other good and valuable considerations, the Parties do agree as set faith below:




      {File: 00694786. 3}
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                                                              01/09/2025
                                                                 41 of 42 PageID
                                                                           Page 3 #:
                                                                                  of 4
                                        426
                                                                                        DRAFT 5/10/18



                I.    The above Recitals are true and correct and are incorporated and made a
      part of this Agreement.

              2.     Harrison hereby agrees to and shall relinquish and surrender to_ ~he
      Company 3.75 of his shares in the Company for reissuance to Paul, with Harrison retammg
      285 shares. Harrison shall concurrent with his execution of this Memorandum execute the
      attached stock power.

              3.     Martin hereby agrees to and shall relinquish and surrender to the Company
      14.875 of his shares in the Company for reissuance to Paul, with Martin retaining 245
      shares. Martin shall concurrent with his execution of this Memorandum execute the
      attached stock power.

              4.     Brad hereby agrees to and shall relinquish and surrender to the Company
      36.375 of his shares in the Company for reissuance to Paul, with Brad retaining 185 shares.
      Brad shall concurrent with his execution of this Memorandum execute the attached stock
      power.

              5.     The Company shall promptly issue new stock certificates to Harrison for
      285 shares, to Martin for 245 shares and to Brad for 185 shares.

             6.     The Company shall promptly issue to Paul 185 certificated shares of its
       common stock.

               7.     Paul represents and agrees that the issuance of 185 shares of the Company's
      common stock to him completes, satisfies and complies with his prior and
      contemporaneous oral discussions, representations, negotiations, anangements and
      agreements with the other Parties with regard to Paul acquiring an equity interest in the
      Company and that all such prior and contemporaneous discussions, representations,
      negotiations, arrangements and agreements are merged into this Agreement.

            8.              Martin is authorized to enter into and sign this Agreement on behalf of the
      Company.

               9.     This Agreement may be executed in one or more counterparts each of which
      shall constitute an original and all of which together constitute one and the same
      Memorandum of Agreement. Facsimile or electronic (including PDF) signatures of the
      parties to this Agreement shall be accepted as authentic original signatures and legally
      binding.




                                          [EXECUTION PAGE FOLLOWS]




      {File: 00694786. 3)
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                                                                 42 of 42 PageID
                                                                           Page 4 #:
                                                                                  of 4
                                        427

                                                                            DRAFT 5/10/18




       Dated: May_ , 20 18
                                                     Harrison Macris


       Dated: May_ , 2018
                                                     ~
                                                     Bradley Werntz


       Dated: May       __   , 2018
                                                     Martin M.


       Dated: May_ , 2018                            ~
                                                     Paul Daniels


                                                     Princeton Carbon Works, Inc.


       Dated: May       __ , 2018                    By:
                                                           Ma1tin M. Crotty
                                                           Authorized Representati




      {File: 00694786. 3}
                                       Page 3 of 3
